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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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BERTRAND HENRY,
                                                                      ORDER TO SHOW CAUSE
                                                                      CV21-06016 (CBA)
                        -against-

DONITA MCINTOSH
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      Upon the petition for issuance of a writ of habeas corpus pursuant to 28 U.S.C. 2254, dated
October 29th, 2021, a copy of which is appended, it is hereby ORDERED that:

        (1) Petitioner is granted leave to proceed in forma pauperis;
        (2) The Attorney General of the State of New York or, the District Attorney of KINGS
County, as attorney for respondent, show cause before this Court by the filing of a return to the
petition, why a writ of habeas corpus should not be issued;
        (3) Within sixty (60) days of this Order, (February 7, 2022) respondent shall serve a copy
of a return, consisting of necessary affidavits and briefs, on the petitioner and file the original with
proof of service, with the Clerk of this Court;
       (4) Respondent shall submit the transcript and record of the trial and any hearings to this
Court at the time of filing such return; return; Respondent is required to electronically file the
State Court Record, with no individual attachment to the entry exceeding 5 megabytes. The
respondent is also directed to supply a hard copy to Chambers which must be clearly marked
"Courtesy Copy, original filed in ECF, docket number CV21-06016.”
        (5) Respondent shall submit, at the time of filing such return, copies of petitioner's and the
District Attorney's briefs: a) on appeal, b) in connection with proceedings pursuant to section 440
of New York's Criminal Procedure Law, and c) in connection with coram no bis proceedings, if
any such proceedings took place, as well as all relevant state court transcripts, decisions and
opinions;
        (6) Petitioner, within thirty (30) days of receipt by him (March 9, 2022) of a copy of the
respondent's return shall file his reply, if any, with the Clerk of this Court;
        (7) All communications with the Court must be served on the opposing party;
        (8) Service of a copy of this Order to Show Cause shall be made by the Clerk of this Court
by certified mail, together with a copy of the petition to the Attorney General of the State of New
York, 120 Broadway, New York, New York 10271 and the District Attorney of Kings County,
350 Jay St., 19th Fl., Brooklyn, NY 11201-2908, and by mailing a copy of this Order to the
petitioner.
SO ORDERED.
                                                             /s/ Carol Bagley Amon
                                                         Carol Bagley Amon, U.S. District Judge
DATED: Brooklyn, New York
December 9, 2021
